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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

LEROY PERNELL,
et al.,

             Plaintiffs,
v.                                             Case No.: 4:22cv304-MW/MAF


FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY
SYSTEM, et al.,

          Defendants.
_________________________/

                      ORDER ON MOTION TO DISMISS

      This Court has considered, without hearing, Defendants’ motion to dismiss.

ECF No. 51. Defendants move to dismiss under Federal Rule of Civil Procedure

12(b)(1), asserting Plaintiffs’ complaint fails to adequately allege facts establishing

their standing to proceed. Additionally, Defendants move to dismiss Plaintiffs’

claims on the merits under Federal Rule of Civil Procedure 12(b)(6). For the reasons

set out below, Defendants’ motion is GRANTED in part and DENIED in part.

                                           I

      As it must, this Court first addresses threshold jurisdictional issues. A Rule

12(b)(1) motion to dismiss for lack of subject matter jurisdiction “can be asserted on

either facial or factual grounds.” Carmichael v. Kellogg, Brown & Root Servs., Inc.,
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572 F.3d 1271, 1279 (11th Cir. 2009) (citation omitted). Here, Defendants raise a

facial attack on the sufficiency of Plaintiffs’ allegations to establish standing.

Accordingly, Plaintiffs retain the “safeguards similar to those retained when a Rule

12(b)(6) motion to dismiss for failure to state a claim is raised.” McElmurray v. Cons.

Gov. of Augusta-Richmond Cnty., 501 F.3d 1244, 1251 (11th Cir. 2007). That is, this

Court must consider the complaint’s allegations as true and “merely . . . look and see

if the plaintiff has sufficiently alleged a basis of subject matter jurisdiction . . . .”

Stalley ex rel. United States v. Orlando Reg’l Healthcare Sys., Inc., 524 F.3d 1229,

1233 (11th Cir. 2008) (quoting Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir.

1990)).

      To establish standing, Plaintiffs must show (1) that they have suffered an

injury-in-fact that is (2) traceable to Defendants and that (3) can likely be redressed

by a favorable ruling. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61

(1992). And they must do so for each statutory provision they challenge. See, e.g.,

CAMP Legal Def. Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1273 (11th Cir. 2006)

(emphasizing that courts have an “independent obligation . . . to ensure a case or

controversy exists as to each challenged provision even in a case where the plaintiffs

established harm under one provision of the statute”). By separate order, this Court

engaged in a granular provision-by-provision analysis to determine whether

Plaintiffs had established standing to proceed with respect to each of the challenged

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statutory provisions. See Pernell v. Fla. Bd. of Govs. of the State Univ. Sys., --- F.

Supp. 3d ---, 2022 WL 16985720, at *21–33 (N.D. Fla. Nov. 17, 2022). This Court

determined that the Plaintiffs—save Dr. Dunn and Ms. Dauphin—had established

standing for purposes of a preliminary injunction against the members of the Board

of Governors as to each of the eight concepts, such that those Plaintiffs could proceed

with respect to each of the statutory provisions at issue for their free speech and due

process claims. Given that this Court applied a heightened burden of establishing

standing at the preliminary-injunction stage, see id. at *14, these Plaintiffs have

certainly established standing to proceed against the members of the Board of

Governors at the pleading stage.

      With respect to Dr. Dunn, he failed to come forward with evidence

establishing, at the preliminary-injunction stage, that he provided training or

instruction during his Black history bus tour and was thus covered by the challenged

law. Id. at *21. However, the complaint’s factual allegations—and all reasonable

inferences drawn therefrom—establish that his speech is arguably proscribed by the

Individual Freedom Act’s (IFA’s) prohibited concepts concerning the promotion or

endorsement of various forms of race consciousness. See, e.g., ECF No. 1 ¶¶ 28–30.

      Similarly, Ms. Dauphin failed to come forward with evidence to establish

standing at the preliminary injunction stage. 2022 WL 16985720, at *30–31.

However, her factual allegations—and all reasonable inferences drawn therefrom—

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demonstrate that her professors’ speech is arguably proscribed by the IFA and that

the chill resulting from that arguable proscription denies her the right to receive

information that she otherwise would have received but for enforcement of the IFA.

See, e.g., ECF No. 1 ¶¶ 31–33. Both Dr. Dunn’s and Ms. Dauphin’s alleged injuries

are similarly traceable to the members of the Board of Governors and redressable by

an injunction against them which prohibits enforcement of the challenged provisions

under the IFA. But, as this Court emphasized in its order on the motion for

preliminary injunction, Plaintiffs will face a heightened burden to prove standing at

later stages of this case. If they are unable to marshal the evidence necessary to prove

standing for any of their claims or any of the challenged provisions, further relief—

if any—will be limited to that for which they have proved both standing and

entitlement on the merits.

      As this Court noted in its order on the motion for preliminary injunction,

Plaintiffs’ injuries are (1) traceable to the members of the Board of Governors, in

their official capacities, and to Manny Diaz, Jr., as Commissioner of the Florida

Board of Education and a member of the Board of Governors, and (2) redressable

by enforcement of an injunction against them. 2022 WL 16985720, at *27–30.

However, Plaintiffs were unable to demonstrate a likelihood of success with respect

to traceability and redressability against the various Boards of Trustees, as entities,

because their claims against these entities “are likely barred by sovereign immunity

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under the Eleventh Amendment.” Id. at *29. As the Eleventh Circuit has recognized,

“given how tightly Florida’s government controls its public education system,”

Boards of Trustees of Florida’s community colleges and state universities are

considered “arms of the state” for Eleventh Amendment purposes. Univ. of S. Fla.

Bd. of Trustees v. Comentis, Inc., 861 F.3d 1234, 1237 (11th Cir. 2017) (listing cases).

Accordingly, the Eleventh Amendment bars Plaintiffs’ claims against the Boards of

Trustees “regardless of whether [they] seek[] money damages or prospective

injunctive relief.” Stevens v. Gay, 864 F.2d 113, 115 (11th Cir. 1989) (citing

Pennhurst State Sch. and Hosp. v. Halderman, 465 U.S. 89, 100 (1984)). The same

is true with respect to Plaintiffs’ claims against the Board of Governors as an entity,

as opposed to Plaintiffs’ official-capacity claims against the members of the Board

of Governors.

      Accordingly, Defendants’ motion to dismiss, ECF No. 51, is GRANTED in

part. Plaintiffs’ claims against the Boards of Trustees and the Board of Governors,

as entities, are DISMISSED on Eleventh Amendment grounds. Next, this Court

considers whether Plaintiffs have alleged a plausible Equal Protection claim.

                                           II

      As indicated above, Plaintiffs have standing to challenge enforcement of the

IFA by the members of the Board of Governors. This Court next addresses




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Defendants’ 12(b)(6) arguments for dismissal with respect to Plaintiffs’ Equal

Protection claim.

      In evaluating Defendants’ motion, this Court accepts the allegations in the

complaint as true and construes them in the light most favorable to Plaintiffs. See

Hunt v. Amico Props., L.P., 814 F.3d 1213, 1221 (11th Cir. 2016). “To withstand a

motion to dismiss under Rule 12(b)(6), a complaint must include ‘enough facts to

state a claim to relief that is plausible on its face.’ ” Id. (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A ‘claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.’ ” Id. (quoting Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)). “Plaintiff’s allegations must amount to ‘more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do.’ ” Id. (quoting Twombly, 550 U.S. at 555).

      Here, Defendants challenge the sufficiency of Plaintiffs’ allegations with

respect to their claim that the IFA violates the Equal Protection Clause by

intentionally discriminating against African Americans. ECF No. 51-1 at 21–36. To

determine whether a facially neutral law violates the Fourteenth Amendment, this

Court must apply a two-prong analysis. Greater Birmingham Ministries v. Sec’y of

State of Ala., 992 F.3d 1299, 1321 (11th Cir. 2021). Plaintiffs must first show that

the law has both “a discriminatory purpose and effect.” Id. (quoting Burton v. City

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of Belle Glade, 187 F.3d 1175, 1188–89) (11th Cir. 1999)). Once Plaintiffs satisfy

the first prong, “the second prong provides that ‘the burden shifts to the law’s

defenders to demonstrate that the law would have been enacted without [this racial

discrimination] factor.’ ” Greater Birmingham Ministries, 992 F.3d at 1321.

(citations omitted).

      To address the first prong, this Court must apply the multi-factor approach set

out in Village of Arlington Heights v. Metropolitan Housing Development

Corporation, 429 U.S. 252 (1977). Here, Defendants overextend by asking this

Court to resolve, on a motion to dismiss, claims that require this Court to undertake

a complex, fact-intensive inquiry. Upon review of the allegations in the complaint,

Plaintiffs have alleged at least some facts addressing every factor under Arlington

Heights. Given that the question is whether this Court can infer a discriminatory

purpose given the totality of the circumstances, and that no one factor is dispositive,

Plaintiffs have done enough at the pleading stage. This does not mean that they can

ultimately prove what they allege. But at the pleading stage, Plaintiffs have done

enough.

                                          III

      Finally, Defendants move to dismiss Plaintiffs’ free speech and vagueness

claims—incorporating by reference the same merits arguments Defendants asserted

in opposition to Plaintiffs’ motion for preliminary injunction. ECF No. 51-1 at 20–

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21. This Court rejects Defendants arguments that (1) the First Amendment does not

apply to professors’ in-class speech, (2) this is simply a permissible regulation of

curriculum, and (3) the State of Florida has a compelling interest to enforce a

viewpoint-discriminatory ban on speech. See generally Pernell, 2022 WL 16985720.

Construing Plaintiffs’ allegations as true and viewing them in the light most

favorable to Plaintiffs, Plaintiffs have certainly alleged plausible claims for relief

under the First and Fourteenth Amendments. Accordingly, for these reasons,

Defendants’ motion to dismiss, ECF No. 51, is DENIED in part with respect to

their request to dismiss Plaintiffs’ claims under Rule 12(b)(6).

       Plaintiffs’ official-capacity claims against the members of the Florida Board

of Governors may proceed. Plaintiffs’ claims against the Florida Board of

Governors, as an entity, and the various Boards of Trustees, as entities, are barred by

the Eleventh Amendment and, thus, DISMISSED without prejudice. 1

       SO ORDERED on November 22, 2022.

                                                     s/Mark E. Walker             ____
                                                     Chief United States District Judge




       1
         “A dismissal for lack of subject matter jurisdiction is not a judgment on the merits and is
entered without prejudice.” Stalley, 524 F.3d at 1232 (citing Crotwell v. Hockman-Lewis Ltd., 734
F.2d 767, 769 (11th Cir. 1984)).
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